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ELIZABETH M. LOCKE, P.C.                                                         NICHOLAS J. BRECHBILL
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                                                July 25, 2024

     Via Personal Service

     Dewey Square Group, LLC
     c/o Corporate Creations Network Inc.
     1629 K Street, NW #300
     Washington, DC 20006


                            Re:    Rumble v. Jammi, et al., Case No. 8:23-CV-2118
     To Whom It May Concern:
            We write on behalf of Plaintiff Rumble Inc. in the above-referenced litigation pending in the
     U.S. District Court for the Middle District of Florida. We have issued the enclosed subpoena
     seeking copies of relevant documents in your possession.
             Please examine the subpoena for the applicable date and location required for your
     compliance. If you are represented by a lawyer, please have them contact me about the enclosed
     subpoena. If you are not represented by a lawyer, you may seek the assistance of counsel if you
     believe that to be necessary.
             While the subpoena technically calls for the production of documents at a physical address
     in Virginia, you can also comply with the document subpoena by emailing any responsive documents
     to libby@clarelocke.com and nick@clarelocke.com.
            Please do not hesitate to contact us with any questions regarding this request.
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                                          Very truly yours,

                                          CLARE LOCKE LLP




                                          Elizabeth M. Locke, P.C.




                                          Nicholas J. Brechbill




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Middle District
                                                       __________ DistrictofofFlorida
                                                                               __________
                           Rumble Inc.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 8:23-cv-02718-CEH
   Nandini Jammi, Claire Atkin, and John Does No.                             )
                        1-10                                                  )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                       Dewey Square Group, LLC, c/o Registered Agent, Corporate Creations Network Inc.
                                         1629 K Street, NW #300, Washington, DC 20006
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: 10 Prince Street, Alexandria, VA 22314 or by email to                          Date and Time:
           libby@clarelocke.com and nick@clarelocke.com                                                     08/16/2024 12:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/25/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                        /s/ Jered Ede
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Rumble Inc.                                                             , who issues or requests this subpoena, are:
Jered Ede, Clare Locke LLP, 10 Prince Street, Alexandria, VA 22314, jered@clarelocke.com, (202) 628-7409

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 8:23-cv-02718-CEH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                  ATTACHMENT A

                                   INSTRUCTIONS

       1.     Unless otherwise noted, these requests require You to produce all

 responsive Documents, Communications, and things requested from October 2022

 through the present.

       2.     You shall produce all Documents, Communications, and things

 requested that are responsive to the requests set forth below in their original form or

 in copies that are exact duplicates of the originals.

       3.     All Electronically Stored Information shall be produced according to

 the Federal Rules of Civil Procedure, unless You and the parties agree otherwise.

       4.     Produce all responsive Documents, Communications, and things

 requested in Your possession, custody, or control, regardless of whether responsive

 Documents, Communications, and things requested are currently in Your immediate

 possession, including Documents and Communications obtained by Your counsel,

 employees, agents, or any other persons acting on Your behalf.

       5.     If You object to any portion of any request, identify the portion to which

 You object and respond to the remainder. All objections to the requests herein shall

 be made in writing and delivered via email to the undersigned counsel on or before

 the date set for production.




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       6.     If any Document or Communication, or any portion of any Document

 or Communication, within the scope of a request is withheld or redacted from

 production upon any claim of privilege, You shall provide a list identifying each

 Document or Communication so withheld, as follows:

              a.     a brief description of the document;

              b.     the type of document, e.g., letter or memorandum;

              c.     the general subject matter of the document;

              d.     the date of the document;

              e.     the author of the document;

              f.     the addressees of the document;

              g.     any other recipients of the document;

              h.     the relationship of the author, addressees and recipients to each
                     other; and

              i.     the specific privilege(s) claimed for that Document or
                     Communication.

       7.     The use of the singular form of any word includes the plural and vice

 versa. The past tense of any verb used herein includes the present tense, and the

 present tense includes the past tense. Each request and subparagraph or subdivision

 thereof shall be construed independently, and no other request or subparagraph or

 subdivision thereof shall be referred to or relied on to limit its scope except insofar

 as the request or subparagraph or subdivision construed expressly refers to another

 request or subparagraph or subdivision thereof.


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       8.     Produce all Documents, Communications, and things requested (1) as

 they are kept in the usual course of business, including any labels, file markings, or

 similar identifying features, or (2) organized and labeled to correspond to the

 categories requested herein.

                                   DEFINITIONS

       1.     “Action” refers to the above-captioned case, Rumble, Inc. v. Jammi, et

 al., 23-cv-02718-CEH (M.D. Fla.).

       2.     “All,” “any,” “each,” and “every” encompass any and all of the matter

 discussed.

       3.     “Amended Complaint” refers to the Amended Complaint in the Action

 filed on April 26, 2024 (ECF No. 42), attached as Exhibit 1.

       4.     “And” and “or” are terms of inclusion, not exclusion, and shall be

 construed either disjunctively or conjunctively as necessary to bring within the scope

 of a document request any Documents, Communications, or things that might

 otherwise be construed to be outside of its scope.

       5.     “Atkin” refers to Defendant Claire Atkin.

       6.     “Communication” or “Communications” means a communication in

 any form, including, without limitation, notes, complaints, diaries, journals,

 datebooks, reports, calendars, telephone messages, letters, email messages, LinkedIn

 messages, cell phone text messages (SMS messages and MMS messages), voicemail



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 messages, social media communications or posting on sites including but not limited

 to Facebook, X (f/k/a Twitter), and Instagram (including any direct messages),

 website postings, internet chat-room postings, lists, correspondence, drawings,

 designs, telegrams, manuals, summaries or records of personal conversations, logs,

 minutes or records of meetings, minutes of any other type, transcripts of oral

 testimony or statements, affidavits, or summaries of investigations. For avoidance

 of doubt, the term “Communications” includes internal communications and

 communications with third parties.

       7.        “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

       8.        “Jammi” refers to Defendant Nandini Jammi.

       9.        “Document” means any printed, written, typed, recorded, transcribed,

 taped, photographic, or graphic matter, however produced or reproduced, including,

 but not limited to: any letter, correspondence, or communication of any sort; email,

 either sent or received; file, print, negative, or photograph; sound or video recording;

 note, notebook, diary, calendar, minutes, memorandum, contract, agreement, or any

 amendment thereto; telex, telegram, or cable; summary, report, or record of any

 telephone conversation, personal conversation, discussion, interview, meeting,

 conference, investigation, negotiation, act, or activity; projection, work paper, or

 draft; computer output or input; data processing card; opinion or report of any



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 consultant; request, order, invoice, or bill of lading; analysis, diagram, map, index,

 sketch, drawing, plan, chart, manual, brochure, pamphlet, advertisement, circular,

 newspaper or magazine clipping; press release; receipt, journal, ledger, schedule,

 bill, or voucher; financial statement, statement of account, bank statement,

 checkbook, check stubs or register, canceled check, deposit slip, charge slip, tax

 return, or requisition; file, study, graph, or tabulation; and all other writings and

 recordings of whatever nature, whether signed, unsigned, or transcribed, and any

 other data compilation from which information can be obtained or translated. The

 term “document” also shall mean: the original and/or any non-identical original or

 copy, including those with any marginal note or comment or showing additions,

 deletions, or substitutions; drafts; attachments to or enclosures with any document;

 and any other documents referred to or incorporated by reference in the document.

 The term “document” also specifically includes all electronic documents and other

 “electronically stored information” (whether stored electronically or in the form of

 a hard-copy, print-out, or otherwise) and all attachments thereto.

       10.    “Electronically stored information” or “ESI” refers to any portion of

 data available on a computer or other device capable of storing electronic data.

 “Electronically stored information” includes, but is not limited to, email,

 spreadsheets, databases, word processing documents, images, presentations,

 application files, executable files, log files, and all other files present on any type of



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 device capable of storing electronic data. Devices capable of storing electronically

 stored information include, but are not limited, to servers, desktop computers,

 portable computers, handheld computers, flash memory devices, wireless

 communication devices, pagers, workstations, minicomputers, mainframes, and any

 other forms of online or offline storage. ESI includes cell phone text messages (SMS

 messages and MMS messages), voicemail messages, and similar types of messages.

 ESI includes any records of such communications or messages, including phone

 records. ESI includes any social media communication (such as but not limited to

 X (f/k/a Twitter), Facebook, and Instagram), including any direct messages. For any

 document kept in electronic form, the term “Document” includes any metadata

 associated with the document.

       11.    “Person” is defined as any natural person or any legal entity, including,

 without limitation, any business or governmental entity or association.

       12.    “Plaintiff” or “Rumble” refers to Rumble, Inc., the plaintiff in the

 Action.

       13.    “Relating to,” “Relate to,” “Reflecting,” and/or “Concerning” mean

 relating to, reflecting, concerning, referring to, constituting, embodying, connected

 to, in connection with, comprising, regarding, evidencing, describing, identifying,

 stating, analyzing, containing information concerning, and/or in any way pertaining

 to the subject matter of this Action.



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         14.   “Jammi’s August 16, 2023 Post” refers to the post Jammi made on X

 about     Rumble     on          August    16,       2023,      which     is        available    at

 https://twitter.com/nandoodles/status/1691850380315951463 and identified in

 paragraphs 10, 53, 84, and 95 of the Amended Complaint.

         15.   “Atkin’s September 26, 2023 Post” refers to the post Atkin made on X

 about     Rumble     on      September        26,      2023,     which     is       available    at

 https://twitter.com/catthekin/status/1706816841061179478                 and        identified   in

 paragraphs 11, 57, 84, and 95 of the Amended Complaint.

         16.   “Jammi’s September 26, 2023 Post” refers to the post Jammi made on

 X    about    Rumble        on    September      26,    2023,     which        is    available   at

 https://twitter.com/nandoodles/status/1706814986461311430 and identified in

 paragraphs 11, 54, 84, and 95 of the Amended Complaint.

         17.   “Jammi’s October 3, 2023 Post” refers to the post Jammi made on X

 about     Rumble       on        October   3,        2023,      which     is        available    at

 https://twitter.com/nandoodles/status/1709252496466575691 and identified in

 paragraphs 12, 56, 84, and 95 of the Amended Complaint.

         18.   “October 24, 2023 Article” refers to the article about Rumble published

 on   CheckMyAds.org          on     October      24,    2023,     which        is    available   at

 https://checkmyads.org/updates/rumble-gop-debate-explainer/ and identified in

 paragraphs 13, 58, 84, and 95 of the Amended Complaint.



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       19.    “Publications” refer to Jammi’s August 16, 2023 Post, Atkin’s

 September 26, 2023 Post, Jammi’s September 26, 2023 Post, Jammi’s October 3,

 2023 Post, and the October 24, 2023 Article, collectively.

       20.    “You” and “Your” refer to Dewey Square Group, and its current and

 former officers, directors, employees, contractors, and other agents.




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                             DOCUMENT REQUESTS

 REQUEST NO. 1.
        All Documents and Communications Concerning Rumble’s advertising

 revenue.

 REQUEST NO. 2.
        All Documents and Communications Concerning Rumble’s use of Google

 Ads.

 REQUEST NO. 3.
        All Documents and Communications Concerning the Rumble Advertising

 Center.

 REQUEST NO. 4.
        All Documents Reflecting or Concerning Communications between You and

 Atkin Relating to Rumble.

 REQUEST NO. 5.
        All Documents Reflecting or Concerning Communications between You and

 Jammi Relating to Rumble.

 REQUEST NO. 6.
        All Documents Reflecting or Concerning Communications between You and

 Rachel Gilmore, a reporter for Check My Ads, Relating to Rumble.




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 REQUEST NO. 7.
         All Documents Reflecting or Concerning Communications between You and

 Brandon Hardin, an editor for Check My Ads, Relating to Rumble.

 REQUEST NO. 8.
         All Documents Reflecting or Concerning Communications between You and

 Alec D’Angelo, a researcher for Check My Ads, Relating to Rumble.

 REQUEST NO. 9.
         All Documents Reflecting or Concerning Communications between You and

 Check My Ads Relating to Rumble.

 REQUEST NO. 10.
         All Documents Reflecting or Concerning Communications between You and

 Dewey Square Group Relating to Rumble.

 REQUEST NO. 11.
         All Documents and Communications Concerning Jammi’s August 16, 2023

 Post.

 REQUEST NO. 12.
         All Documents and Communications Concerning Jammi’s September 26,

 2023 Post.

 REQUEST NO. 13.
         All Documents and Communications Concerning Atkin’s September 26, 2023

 Post.



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 REQUEST NO. 14.
         All Documents and Communications Concerning Jammi’s October 3, 2023

 Post.

 REQUEST NO. 15.
         All Documents and Communications Concerning the October 24, 2023

 Article.

 REQUEST NO. 16.
         All Documents and Communications Concerning Rumble’s December 26,

 2022 tweet referenced in the Amended Complaint at ¶ 67.

 REQUEST NO. 17.
         Any joint defense or similar agreement between You and any Person Relating

 To the Action.




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                       Exhibit 1
Case
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                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 RUMBLE INC.,

                      Plaintiff,                Case No. 8:23-cv-02718-CEH
       v.
                                                DEMAND FOR A JURY TRIAL
 NANDINI JAMMI, CLAIRE ATKIN, and
 JOHN DOE NOS. 1–10,
                      Defendants.

                               AMENDED COMPLAINT

       Plaintiff Rumble Inc. (“Rumble”), by and through its undersigned counsel,

 hereby files the following Amended Complaint against Defendants Nandini Jammi,

 Claire Atkin, and John Doe Nos. 1–10, and in support of its Amended Complaint,

 states as follows:

                             NATURE OF THE ACTION

       1.     Nandini Jammi and Claire Atkin, the co-founders of Check My Ads,

 together with Media Matters for America, purport to be digital advertising crusaders

 dedicated to fighting the “global disinformation epidemic.” Yet, for years, they have

 engaged in their own hypocritical disinformation campaign to censor, silence, and

 cancel speech by spreading false, materially misleading, and defamatory statements

 and engaging in tortious conduct to convince advertisers to withdraw ad spends from

 platforms like Rumble that host content creators who espouse views contrary to
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 Defendants’ hyper-partisan sensibilities.     In the 2010s, their targets were Bill

 O’Reilly, Breitbart News, and Tucker Carlson. Today, their targets are Elon Musk,

 X, and Rumble.

       2.     Before starting Check My Ads, Jammi helped launch an anonymous

 Twitter campaign using the Twitter account Sleeping Giants (@slpng_giants) to

 publicly pressure companies to stop advertising on Breitbart. Sleeping Giants later

 teamed up with Media Matters to boycott certain Fox News hosts, including Tucker

 Carlson. Together, Sleeping Giants and Media Matters identified a pressure point

 to cripple media (and social media) platforms that broadcast content contrary to their

 progressive world views: advertising dollars. They developed the playbook to cut

 off ad revenue to these platforms by spreading malicious falsehoods about how large

 corporate advertisers’ products were being featured with—and therefore suggesting

 an endorsement of—politically-charged or otherwise controversial content.

       3.     Big Tech was quick to catch on. Not wanting to draw the ire of self-

 proclaimed advertising watchdogs and realizing that they too could fall victim to the

 Sleeping Giants-Media Matters playbook, Big Tech platforms such as Google,

 YouTube, Amazon Web Services, Facebook, and others began increasingly to

 censor content creators based on what they perceived to be the partisan political hot-

 button issues of the day.

       4.     For its part, Rumble has refused to cave to this pressure. Rumble was


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 created as, and it remains, a proudly content-neutral video platform dedicated to

 protecting a free and open internet by providing a safe space for open discourse.

 Rumble’s steadfast commitment to free speech is what sets it apart from competing

 platforms. Rumble was born of a need to protect small content creators who were

 being squeezed out by incumbent Big Tech platforms in favor of large creators,

 influencers, and brands. And as Big Tech platforms have increasingly shifted toward

 preferencing and censorship based on content, not size, Rumble has stayed true to

 its mission. Rumble supports small content creators, and unlike its competitors,

 Rumble is a neutral video platform. As a result, Rumble hosts a broad spectrum of

 creators with varying political viewpoints, allowing users to decide for themselves

 what content to view.

       5.     Rumble has also built its platform from the ground up, creating its own

 technical infrastructure to avoid dependencies on third parties for critical services

 whenever possible. And, rather than relying on Google for its advertising revenue,

 in August 2022 Rumble launched its own platform for advertisers, the Rumble

 Advertising Center, to further insulate itself and its shareholders from Big Tech.

       6.     Rumble has been highly vocal and public about its mission—from its

 creation, through its 2022 initial public offering, to today, Rumble has been

 outspoken in its press releases, through its CEO’s public statements, and in its U.S.

 Securities and Exchange Commission (“SEC”) filings about its commitment to free


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 speech, its mission to protect a free and open internet, and its development of its own

 technical infrastructure and ad platform. Investors have taken note, and as of

 October 23, 2023, Rumble’s market capitalization was $1.44 billion.

       7.     Defendants hate Rumble’s content-neutral philosophy—and its

 progress towards economic independence. Rather than entrusting consumers to

 make their own choices about what to watch, Defendants believe consumers should

 only be allowed to have access to content that aligns with Defendants’ hyper-partisan

 political views. And Defendants loathe that Rumble has been so successful raising

 capital and developing a strong foothold in the market. So, Defendants launched a

 disinformation campaign to demonetize Rumble, and they have bragged about it

 publicly:




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       8.     In their campaign against Rumble, Defendants are using the same

 recycled playbook that Jammi used at Sleeping Giants. Step one: manufacture and

 spread knowingly false statements about Rumble’s business practices, ad

 placements, revenue streams, and overall financial health. Step two: publicly

 pressure large advertisers to “drop” Rumble, thereby reducing revenue to the

 Company, and amplifying the economic risk they pose to their targets to further

 discourage investors from purchasing or holding Rumble stock.

       9.     As relevant to this action, Defendants falsely accused Rumble—

 expressly and by implication—of lying to its shareholders and the SEC in its

 securities filings about the Company’s financial health and its sources of ad revenue.

 Specifically, Defendants have repeatedly peddled the false narrative that Rumble is

 primarily monetized by and wholly dependent upon revenue from Google Ads, when

 in reality, Google Ads now represents less than 1% of the Company’s revenue. This

 narrative is particularly damaging to Rumble. The notion that Rumble is heavily


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 dependent on ad revenue from Google is wholly inconsistent with Rumble’s publicly

 stated mission to be free from the political and economic pressures of Big Tech. And

 it is equally damaging to Rumble because it falsely attributes a material and

 existential financial risk to the Company that Defendants’ stated mission to eliminate

 Rumble’s Google Ad revenue will cause Rumble’s financial collapse.

       10.    Defendants have peddled this false narrative repeatedly on X, formerly

 known as Twitter, and in an article published on CheckMyAds.org. For example,

 on August 16, 2023, Jammi posted on X: “Rumble is all posturing, all the time.

 They’re not a Google Ads killer or even close to it – they depend on Google for their

 business. We’re talking a house of cards.”




       11.    On September 26, 2023, Atkin posted on X: “Rumble, the most toxic

 place on the internet, is 90% funded by @GoogleAds,” and she included a link to a


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 Check My Ads article with instructions for advertisers to block Rumble from their

 ad campaigns.     The same day, Jammi posted on X: “A little known fact:

 @rumblevideo is largely monetized through Google Video Partners.”




       12.    On October 3, 2023, Jammi posted on X: “Without @GoogleAds,

 Rumble would not be viable. … It’s criminal behavior by Google, which has

 promised brand safety to its clients.”




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       13.    Defendants repeated similar claims in an article published on

 CheckMyAds.org on October 24, 2023. The article claimed: “Rumble loves to boast

 about being free from Big Tech. In reality, the business appears to be heavily

 dependent on Google Ads, by far its largest advertising partner.”

       14.    Defendants’ clear intent in manufacturing and publishing this false

 narrative is to harm Rumble’s reputation with advertisers, shareholders, investors,

 creators, and users by suggesting that Rumble is lying to its stakeholders and the

 market about a material financial risk to the Company—the risk that Rumble’s

 business would be devastated if Google Ads were to drop Rumble. This is precisely

 the result that Defendants’ false statements are meant to bring about. But the notion

 that Rumble’s revenue is incompatible with the brand Rumble has worked hard to


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 build—as an alternative to Big Tech that rejects the cancel culture and censorship

 that pervade other large social video platforms—is entirely false. And even if

 Google Ads were to drop Rumble, Rumble’s business would not materially suffer.

       15.   As Rumble truthfully disclosed in its securities filings, ad revenue

 Rumble generated from Google Ads has declined quickly in the last two years.

 Rumble reported in its amended Form S-4 filed on May 12, 2022 that 86% of

 Rumble’s total revenue in the first three quarters of 2021 was derived from Google

 Ads. In its amended Form S-4 filed on August 9, 2022, Rumble disclosed that, in

 Q1 2022, Rumble derived 56% of its total revenue from Google Ads and one other

 external advertising network. By Q2 2022, that percentage had fallen to 45%––a

 fact that Rumble disclosed in its Form S-1 filed on November 4, 2022. In its Q3

 2022 Quarterly Report publicly filed with the SEC, Rumble stated that its revenue

 from Google Ads and another external advertising network represented 19% of

 Rumble’s overall revenue in the quarter. Although not reported in the Q3 2022

 Quarterly Report, the amount of revenue Rumble derived from Google Ads alone

 was only 9%.

       16.   Since then, the percentage of revenue Rumble derived from Google Ads

 has continued to decline precipitously. That percentage is now so small that Rumble

 stopped reporting it in its securities filings because its possible loss no longer

 represents a material risk to the Company. In October 2023, Rumble derived less


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 than 1% of its revenue from Google Ads. This rapid decline was due in large part

 to the roll out of Rumble’s own advertising platform, the Rumble Advertising

 Center. Thus, Rumble is not “largely” monetized by Google, Rumble is not reliant

 on Google Ads, Rumble’s financials are not a house of cards built on Google Ads,

 and Rumble is not “90% funded” by Google Ads as Defendants’ claimed.

        17.   Defendants recklessly disregarded the truth and published these claims

 with actual malice when they manufactured this false narrative. In fact, Defendants

 knew their statements about Rumble were false when they made them. The true

 facts about Rumble’s ad revenue were not only publicly available in the Company’s

 SEC filings, but Rumble responded directly to Jammi on X in late 2022 informing

 her that revenue from two external ad networks, one of which was Google Ads, was

 less than 20% of Rumble’s overall ad revenue in the prior quarter.            Jammi

 acknowledged both receiving this message and the accuracy of it. Indeed, she

 snarked back: “Phew! Y’all are surprisingly into facts for a company that exists just

 to stream conspiracy theorists who’ve been kicked off YouTube.           But noted.

 Thanks.”

        18.   Defendants’ concerted disinformation campaign has had precisely the

 effect they intended—it has harmed Rumble’s brand in the eyes of Rumble’s

 stakeholders, including with investors and partners who share Rumble’s mission of

 restoring the internet to its roots by making it free and open and rejecting Big Tech


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 cancel culture. Following Defendants’ false statements imputing to Rumble in the

 marketplace a material financial risk that does not exist, Rumble lost significant

 market value. In the week following the defamatory article Jammi and Atkin

 published on CheckMyAds.org, investors divested their stock in the Company, and

 Rumble lost nearly $185 million in market capitalization. As a result of Defendants’

 defamatory falsehoods, Rumble has also been forced to expend tens of thousands of

 dollars on outside legal counsel and public relations firms to try to mitigate the

 damage Defendants have caused and continue to cause.

        19.   While Defendants are free to disagree with Rumble’s policy of content

 neutrality and the views expressed on the platform by third-party content creators,

 they are not free to knowingly fabricate and publish false statements about the

 Company to their 150,000 X followers and to a global internet audience in an effort

 to harm Rumble’s business. As individuals supposedly dedicated to combating

 disinformation should appreciate, the truth matters. Rumble brings this lawsuit to

 set the record straight, vindicate its rights, and recover damages for the harm

 Defendants’ lies have caused to Rumble’s business and reputation.

                  PARTIES AND RELEVANT NON-PARTIES

        20.   Plaintiff Rumble is incorporated under the laws of Delaware, and its

 headquarters and principal place of business is located at 444 Gulf of Mexico Drive,

 Longboat Key, Florida. Many of Rumble’s corporate documents and potentially



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 relevant witnesses are in Florida. The location of Rumble’s headquarters is publicly

 available and widely known, including by Defendants.               Rumble’s X profile

 (@rumblevideo), which Defendants regularly visit and which Jammi and Check My

 Ads follow, lists Rumble’s location as Longboat Key, Florida. In addition, many of

 Rumble’s public SEC filings, which Defendants have admitted to reviewing, state

 that Rumble’s registered office is in Longboat Key, Florida. Rumble’s press

 releases, which Defendants have cited, also note its location in Longboat Key,

 Florida. And several of Rumble’s tweets mention its Florida offices. Defendants

 have cited to these press releases and securities filings in articles they published on

 CheckMyAds.org, and they have tagged and retweeted posts by Rumble,

 demonstrating that Defendants knew that Rumble is a Florida-based company.

        21.   Defendant Nandini Jammi is a co-founder of Check My Ads. Jammi is

 domiciled in, resides in, and is a citizen of Maryland.             Jammi’s X account

 (@nandoodles) has nearly 100,000 followers.

        22.   Defendant Claire Atkin is a co-founder of Check My Ads. Atkin is

 domiciled in and is a citizen of British Columbia, Canada.1 She currently resides in

 New York, New York. Atkin’s X account (@catthekin) has nearly 20,000 followers.




 1 Cheryl Chan, Vancouver co-founder of Check My Ads takes on Fox News, Vancouver Sun

 (June 9, 2022), https://vancouversun.com/news/local-news/check-my-ads-vancouver-cofounder-
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        23.    Check My Ads is a 501(c)(3) tax-exempt corporation organized under

 the laws of Delaware and purports to be “an independent watchdog reshaping the

 digital advertising industry.”2 Defendants Jammi and Atkin reached into Florida and

 purposefully availed themselves of the privileges of doing business in the State by

 registering Check My Ads in Florida in October 2023. Upon information and belief,

 Defendants Jammi and Atkin have solicited financial donations within Florida and

 from Florida residents for Check My Ads, benefitting them personally. Check My

 Ads’ X account (@CheckMyAdsHQ) has nearly 29,000 followers.

        24.    Media Matters for America is a nonprofit organization organized under

 the laws of the District of Columbia with its principal place of business in

 Washington, D.C.        Media Matters claims to be a “progressive research and

 information center dedicated to comprehensively monitoring, analyzing, and

 correcting conservative misinformation in the U.S. media.”3 On information and

 belief, Media Matters has worked directly with Defendants in their concerted

 disinformation campaign aimed at destroying Rumble’s business by making false

 claims to pressure advertisers to stop advertising on Rumble, including by

 reviewing, editing, and publishing the October 24, 2023 article on CheckMyAds.org,




 2 Check My Ads, About, https://checkmyads.org/about/ (last visited Nov. 28, 2023).
 3 Media Matters for Am., About Us, https://www.mediamatters.org/about-us (last visited Nov.

 28, 2023).



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 upon which this action is partially based. Indeed, in October 2022, Media Matters

 published an article similarly focused on how Google Ads ostensibly represented

 almost half of display ad traffic directing viewers to Rumble’s website—basing that

 claim purportedly upon a non-public report published by Dewey Square, a hyper-

 partisan public affairs agency itself.4

        25.    Defendants John Doe Nos. 1–10 are individuals who authored, edited,

 and published—together with Jammi and Atkin—the defamatory October 24, 2023

 article about Rumble on CheckMyAds.org, upon which this action is partially based.

 Rumble is currently unaware of the names or identities of John Doe Nos. 1–10, and

 it intends to identify John Doe Nos. 1–10 through discovery in this action. Upon

 information and belief, John Does 1–10 are Check My Ads, Media Matters, and/or

 Dewey Square Group employees.

                             JURISDICTION AND VENUE

        26.    This Court has subject matter jurisdiction over this action pursuant to

 28 U.S.C. § 1332 because there exists (and at all times since the commencement of

 this case has existed) complete diversity of citizenship between Plaintiff and

 Defendants and the amount in controversy exceeds $75,000.00, exclusive of interest



 4
   Kayla Gogarty and Natalie Mathes, Google’s ad network is driving and monetizing traffic to
 the fringe video-sharing platform Rumble, Media Matters (October 20, 2022),
 https://www.mediamatters.org/google/googles-ad-network-driving-and-monetizing-traffic-
 fringe-video-sharing-platform-rumble (last visited Nov. 28, 2023).



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 and costs. Specifically, as pleaded above, Plaintiff Rumble is a citizen of Florida,

 where it maintains its headquarters and principal place of business, and Delaware,

 where it is incorporated; Jammi is a citizen of Maryland; and Atkin is a citizen of

 British Columbia, Canada.

        27.   This Court has personal jurisdiction over Defendants pursuant to the

 U.S. Constitution and Florida’s long-arm statute, Fla. Stat. § 48.193. Defendants

 committed tortious acts within Florida by publishing false and defamatory

 statements about a Florida-based company that were made accessible to residents of

 Florida and were in fact accessed and read by Florida residents in Florida.

        28.   For example, while located in Florida, X user @thelumpypotato

 accessed and viewed the four false and defamatory X posts made by Jammi and

 Atkin about Rumble at or around the time Defendants published those posts.

        29.   While located in Florida, Jim Hoft read and accessed the four false and

 defamatory X posts made by Jammi and Atkin about Rumble at or around the time

 Defendants published those posts.

        30.   While located in Florida, Joe Hoft read and accessed the four false and

 defamatory X posts made by Jammi and Atkin about Rumble at or around the time

 Defendants published those posts.

        31.   On information and belief, an individual with the X username

 @TheKeeper2016 accessed, viewed, and “liked” Jammi’s defamatory August 16,


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 2023 post on X from Florida, which @TheKeeper2016 lists as his location on his X

 account.

        32.   On information and belief, individuals with the X usernames

 @pjitsjustpj, @TheKeeper2016, @_free61, @MIAAgainstFash, @Vollrathian, and

 @SoFloBri accessed, viewed, and “liked” Jammi’s defamatory September 26, 2023

 post on X from Florida, which @pjitsjustpj, @TheKeeper2016, @_free61,

 @MIAAgainstFash, @Vollrathian, and @SoFloBri list as their locations on their X

 profiles.

        33.   On information and belief, individuals with the X usernames

 @corycandfcp and @hildebran accessed, viewed, reposted, and “liked” Jammi’s

 October 3, 2023 post on X from Florida, which @corycandfcp and @hildebran list

 as their locations on their X profiles.

        34.   On information and belief, individuals with the X usernames

 @Joanne90364717 and @ScoutsVue accessed, viewed, and reposted Atkin’s

 September 26, 2023 post on X from Florida, which @Joanne90364717 and

 @ScoutsVue list as their locations on their X profiles.

        35.   On information and belief, an individual named Max Francisco who,

 according to his LinkedIn profile, lives in Fort Lauderdale, Florida accessed and

 viewed the October 24, 2023 article published by Check My Ads. Francisco

 accessed and “liked” Check My Ads’ LinkedIn post, which contained a hyperlink to


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 the article.

         36.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a

 substantial part of the events giving rise to Plaintiff’s claims occurred in the Middle

 District of Florida, and all Defendants are subject to personal jurisdiction in Florida.

 Rumble’s headquarters and principal place of business is in the Middle District of

 Florida, where it has suffered the brunt of the harm to its reputation and economic

 injury from Defendants’ defamatory statements.              In addition, Defendants’

 defamatory statements were published and accessed in the Middle District of

 Florida.

                              FACTUAL ALLEGATIONS

               Rumble Launches a Content-Neutral Video-Sharing Platform
                            as an Alternative to Big Tech.

         37.     Rumble is an online video platform, web hosting, and cloud services

 business. From day one, Rumble has publicly sought to differentiate itself from Big

 Tech.      When Rumble was founded in 2013, incumbent Big Tech platforms

 deprioritized small content creators in favor of influencers, corporations, and large

 brands. Rumble sought to provide an alternative platform to empower those small

 content creators where they could express themselves freely.

         38.     Over time, preferencing on social media and video platforms continued

 to expand and evolve. Big Tech incumbents increasingly employed sophisticated

 algorithms to amplify certain content creators and censor others. Rumble, by


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 contrast, never took that approach. Unlike incumbent Big Tech platforms, Rumble

 has never employed black-box algorithms to drive profit or restrict content. Its

 content policies have always remained consistent and transparent.

        39.   As Big Tech social platforms have continued to expand censorship

 policies on user-generated content, Rumble has remained steadfastly and publicly

 committed to content neutrality. It has created an open platform that welcomes

 content of all genres.

        40.   Rumble’s public commitment to restoring the internet to its roots by

 making it free and open once again has resonated with users who are fed up with the

 “cancel culture” running rampant throughout Big Tech, who support diverse

 opinions and authentic expression, and who recognize the value of and need for open

 dialogue. In one year, from the third quarter of 2020 to the third quarter of 2021, the

 number of monthly active users on Rumble increased more than twentyfold, from

 about 1.6 million to over 36 million.

        Rumble Goes Public and Establishes U.S. Headquarters in Florida.

        41.   In December 2021, Rumble announced a business combination with a

 special purpose acquisition company to take Rumble public. The combination was

 successfully completed in September 2022, and Rumble began trading publicly on

 the Nasdaq Global Market. The deal provided Rumble with gross proceeds of about

 $400 million, which has helped Rumble continue to grow and remain competitive



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 with its Big Tech rivals, while remaining true to its core values of content neutrality.

 As of the third quarter of 2023, Rumble had an average of approximately 58 million

 monthly active users.5

        42.    In November 2021, Rumble publicly announced that it had signed a

 lease and would establish its U.S. headquarters in Longboat Key, Florida. It also

 announced that it would immediately hire 20 to 25 employees for its U.S.

 headquarters, with rapid growth planned for the future. Rumble officially opened

 its new office in Longboat Key in March 2023.

        Jammi Partners With Media Matters to Take Down Media Networks
            and Personalities With Whom They Disagree Politically.

        43.    In November 2016, Jammi helped launch an anonymous Twitter

 campaign using the Twitter account Sleeping Giants to pressure advertisers to drop

 networks and personalities with which Jammi disagreed politically. For example,

 Sleeping Giants went after Breitbart News Network, urging followers to collect

 screenshots of ads appearing on Breitbart’s website and bombarding advertisers with

 tweets about where their ads were appearing.

        44.    Eventually, Sleeping Giants teamed up with Media Matters, and

 together, they set their sights on Fox News—another media outlet whose views they




 5 Rumble, Rumble Reports Third Quarter 2023 Results (Nov. 13, 2023),

 https://api.mziq.com/mzfilemanager/v2/d/2e1fc959-ad61-4cc5-9c93-6d71e81648f4/bef8dd3c-
 7c42-fd7d-a08a-94f17d4d565c?origin=1.

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 did not share. They followed the same playbook that Sleeping Giants had used

 against Breitbart.

        45.   Over time, they refined their methods. Not only were they capturing

 ads that appeared organically on the sites they sought to take down, but they also

 manufactured ad placements they knew advertisers would find problematic—a tactic

 that Defendants and Media Matters still employ today. They create fake X profiles

 and visit sites of particularly controversial content creators, continually refreshing

 those pages until ads for large brands appear.

        46.   For example, in March 2023, Netflix stopped advertising on Rumble

 after Media Matters engineered it so that Netflix ads would appear on a user-

 generated video on Rumble expressing antisemitic views. Media Matters staff

 repeatedly refreshed the user-generated video—in some cases, more than 70 times—

 causing Rumble’s advertising system to serve different advertisements until Media

 Matters found one that it could use as fodder for its public pressure campaign. As it

 turned out, the Media Matters employee engaging in this tactic was the only one to

 actually view the Netflix ad on the video. And once Rumble learned about this

 antisemitic content on its platform—a clear violation of Rumble’s content

 moderation policies—it immediately removed the video.

          Using the Same Media Matters and Sleeping Giants Playbook,
    Defendants Launch a New Online Smear Campaign to Take Down Rumble.

        47.   Jammi and Atkin co-founded the Check My Ads Institute in October


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 2021, purportedly to serve as a non-profit digital advertising watchdog. Jammi and

 Atkin have promised to “rip the beating heart out of the disinformation economy.”6

 However, Jammi and Atkin—individually and through Check My Ads—have

 waged their own disinformation campaign to take down Rumble by spreading lies

 about Rumble’s financial health and its sources of ad revenue—all because Jammi

 and Atkin disagree with the views of some content creators on Rumble.

        48.    To achieve their objective, Defendants have tried to put public pressure

 on advertisers to stop doing business with Rumble.                   They have encouraged

 advertisers to “block Rumble from [their] ad campaigns,” providing detailed

 instructions on how to do so.7 And they have urged Google to “drop Rumble[].”8

        49.    In an effort to convince Rumble’s key stakeholders, including

 shareholders, putative investors, and advertisers, to “drop Rumble,” Defendants

 have also concocted the false and defamatory narrative that Rumble has lied to

 investors and stakeholders about its valuation, sources of revenue, and purportedly

 undisclosed financial risks.

        50.    Specifically, on May 21, 2023, Jammi posted on X (in response to a


 6 Check My Ads, Hey, Check My Ads is 2 years old! (Oct. 27, 2023),

 https://checkmyads.org/updates/check-my-ads-is-2/.
 7
   Check My Ads, How to block Rumble from your ad campaigns (Sept. 26, 2023),
 https://checkmyads.org/branded/how-to-block-rumble-from-your-ad-campaigns/.
 8 Check My Ads, It’s not just Russell Brand. Here are other toxic people Rumble is monetizing.

 (Sept. 28, 2023), https://checkmyads.org/updates/rumble-toxic-influencers-bongino-brand/.




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 tweet from Dan Bongino, a content creator on Rumble) that Rumble’s multi-billion-

 dollar valuation was “just a garden variety grift.”




          51.   Not only is Jammi’s claim false, but it also shows her clear intent to

 disseminate misleading information about Rumble. In support of her false claim that

 “there’s no multi-billion dollar [sic] valuation” and Rumble is just a “garden variety

 grift,” Jammi cites to quarterly revenue figures in Rumble’s Q1 2023 earnings report.

 That is a completely different financial metric than valuation. Rumble went public

 through a business combination agreement with a special purpose acquisition

 company sponsored by Cantor Fitzgerald, a respected Wall Street investment bank.

 That transaction determined Rumble’s enterprise value to be $2.1 billion, with a

 potential increase to $3.1 billion if stock price targets are satisfied in the coming

 years.

          52.   Now that Rumble is publicly traded, its value is easier to determine. It

 is simply Rumble’s share price multiplied by the number of shares. On October 23,

 2023—the day before Defendants published their defamatory article on

 CheckMyAds.org—Rumble’s stock closed at $5.15 per share, giving the Company

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 a market capitalization of about $1.44 billion.

        53.   On August 16, 2023, Jammi tweeted that Rumble is “not a Google Ads

 killer … they depend on Google for their business. We’re talking a house of cards.”




        54.   On September 26, 2023, she made similar claims, posting on X that

 Rumble “is largely monetized through Google Video Partners.”




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        55.   Later the same day, Rumble’s product manager posted on X that

 Rumble is “fearless” in “pursuit of [its] mission” to “protect a free and open

 internet.” Jammi responded: “I’m pretty sure you’re shit scared of losing your

 Google seller account,” underscoring her intent to harm Rumble’s business.




        56.   A few days later, on October 3, Jammi posted that “[w]ithout

 @GoogleAds, Rumble would not be viable. … It’s criminal behavior by Google,

 which has promised brand safety to its clients.”




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        57.      On September 26, Atkin posted that “Rumble, the most toxic place on

 the internet, is 90% funded by @GoogleAds.” This post also tagged Jammi, an

 action that would lead to her receiving an alert to her account on X.




        58.      Upon information and belief, Jammi, Atkin, and John Does 1–10 made

 the same claim in an article published by Check My Ads on October 24, 2023. The

 article said:

                 Rumble is heavily monetized by Google Ads. Rumble
                 loves to boast about being free from Big Tech. In reality,
                 the business appears to be heavily dependent on Google
                 Ads, by far its largest advertising partner — and
                 advertisers often have no idea their ads are appearing
                 there. Rumble is part of Google Video Partners, which
                 means Google dumps inventory there that many
                 advertisers assume is going to YouTube. And it seems to
                 know brands wouldn’t appreciate appearing next to some


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               of Rumble’s content: it has taken steps to minimize the
               risk of advertisers waking up to screenshots of their ads
               next to Alex Jones’ face. Its two-tier system for ads
               monetizes the worst videos through Rumble Ads, its in-
               house ad platform, while featuring Google Ads on
               mainstream channels, such as Reuters.9

         59.   On information and belief, Jammi and Atkin co-wrote, edited, and

 published this defamatory article on Check My Ads, along with John Doe Nos. 1–

 10.

         60.   On information and belief, John Doe Nos. 1–10 are unidentified

 employees of Check My Ads, Media Matters for America, and/or Dewey Square

 Group who also were directly involved in writing, editing and publishing the

 defamatory October 24, 2023 article. Indeed, Media Matters published a similar

 article in October 2022, which claimed that Google Ads was responsible for nearly

 half of all display ads directing users to Rumble’s website. It did so based upon a

 non-public Dewey Square Group analysis. Dewey Square Group itself is a hyper-

 partisan government and public affairs agency, who upon information and belief,

 was paid by Media Matters and others for this analysis as part of a broader public

 affairs attack on Rumble.

       Defendants’ Claims that Rumble is 90% Monetized by, and Economically
           Dependent Upon, Google Ads are False and Defamatory Per Se.

         61.   Defendants’ claims that Rumble is 90% monetized by and is


 9 Check My Ads, 8 Things To Know About Rumble, The Toxic Platform That Will Stream The

 GOP Debate (Oct. 24, 2023), https://checkmyads.org/updates/rumble-gop-debate-explainer/.

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 economically dependent upon Google Ads are false and defamatory. At the time of

 Defendants’ claims in August through October 2023, Rumble’s ad revenue

 generated from Google AdSense was miniscule. In October 2023, it was less than

 1% percent of the Company’s total revenue.

        62.   Defendants’ false claims about Rumble’s ad revenue imply—as

 Defendants intended—that Rumble is susceptible to a material financial risk (i.e.,

 the risk that Google may decide to pull nearly all Rumble’s ad revenue) that simply

 does not exist.    As Rumble’s public securities filings show, since 2021, the

 percentage of revenue Rumble derived from Google Ads has fallen dramatically. In

 the first three quarters of 2021, revenue from Google Ads was about 86% of

 Rumble’s total revenue. In October 2023, it was less than 1%. That number

 continues to shrink as Rumble’s own ad marketplace, the Rumble Advertising

 Center, expands.

        63.   Google Ads now accounts for such a small percentage of Rumble’s

 overall revenue that, even if Google Ads were to drop Rumble, Rumble’s financial

 health would remain strong and its financial outlook bright.

        64.   Defendants’ claims about the size of Rumble’s ad revenue derived from

 Google falsely suggest that Defendants’ own attacks against the Company pose an

 existential financial threat that simply does not exist. Although Defendants’ mission

 is to destroy Rumble by pressuring Google to demonetize it, such a loss would


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 account for less than 1% of Rumble’s gross revenue.

        65.   Defendants’ claims that Rumble is economically dependent on Google

 Ads and derives 90% of its ad revenue from Google are defamatory per se because

 they falsely impute to Rumble a characteristic and condition that is incompatible

 with the proper exercise of Rumble’s business, trade, mission, and brand. Since its

 inception, Rumble’s publicly stated mission has been to free itself—and its users—

 from the shackles of Big Tech’s censorship and dominance in the U.S. economy.

 (To that end, Rumble filed an antitrust lawsuit against Google in January 2021; that

 lawsuit is ongoing.) And that distinction has been a significant factor in Rumble’s

 economic success, including successfully going public in September 2022, because

 Rumble’s users, shareholders, and investors share Rumble’s commitment to

 independence from Big Tech. Defendants’ false claims have diminished Rumble’s

 brand in the eyes of its users, shareholders, putative investors, and a substantial and

 respectable minority of Florida’s citizenry.

        66.   Rumble reported in the Form 10-Q it filed publicly with the SEC in

 November 2022 that revenue generated from Google AdSense and another external

 advertising network was only about 19% of Rumble’s total revenue—not 90% as

 Atkin claimed. In fact, the percentage of ad revenue derived solely from Google

 AdSense in Q3 2022 was only 9%. That percentage has fallen even further as

 Rumble has begun rolling out the Rumble Advertising Center, a technologically


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 advanced advertising marketplace that will allow Rumble to scale advertising

 revenue through automation and improve the experience for its advertisers.

 Accordingly, Defendants’ statements are defamatory per se because they also accuse

 Rumble of criminal misconduct—falsely implying that Rumble committed

 securities fraud by lying to investors and to the SEC when it reported in public SEC

 filings at the end of 2022 that revenue from Google AdSense and another external

 advertising network was only 19% of the company’s overall revenue and by failing

 to report revenue from Google AdSense separately after that quarter.

         Jammi and Atkin Published Their Statements With Actual Malice:
                They Knew Rumble was not Largely Monetized by
                   Google Ads—Because Rumble Told Them.

        67.   Defendants claim to be dismantling disinformation. But in reality, they

 are peddling false claims that support their agenda—taking down Rumble. Rumble

 has told Jammi directly that revenue from Google Ads and another external

 advertising network represented less than 20% of the Company’s overall ad revenue.

 On December 26, 2022, Rumble replied to a tweet Jammi posted on X, informing

 her that “[t]he top two external ad networks Rumble uses, which includes Google,

 represent less than 20% of our revenue in Q3.” Jammi responded: “Phew! Y’all are

 surprisingly into facts for a company that exists just to stream conspiracy theorists




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 who’ve been kicked off YouTube. But noted. Thanks.”10 On information and

 belief, Jammi shared this information with Atkin, who follows Jammi’s account on

 X, and Atkin independently saw Rumble and Nandini’s exchange on X.




        68.    Jammi and Atkin also knew that their claims were false because, upon

 information and belief, they reviewed the similarly focused, October 2022 Media

 Matters article, Google’s ad network is driving and monetizing traffic to the fringe

 video-sharing platform Rumble, which states expressly that “Google’s ad network

 made up [only] 2% of total advertiser spending on Rumble.com in the last year.”11

 Upon information and belief, Jammi and Atkin have been working directly with


 10
    Nandini Jammi (@nandoodles), X (Dec. 26, 2022, 2:26 PM),
 https://twitter.com/nandoodles/status/1607457943569551366.
 11 Kayla Gogarty and Natalie Mathes, Google’s ad network is driving and monetizing traffic to

 the fringe video-sharing platform Rumble, Media Matters (October 20, 2022) (citing Pathmatics),
 https://www.mediamatters.org/google/googles-ad-network-driving-and-monetizing-traffic-
 fringe-video-sharing-platform-rumble (last visited Nov. 28, 2023).

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 Media Matters and Dewey Square Group as part of a broader public affairs campaign

 to target Rumble, and, as a result, have reviewed this article and the non-public

 Dewey Square Group and Pathmatics analyses upon which it is based.

      Jammi and Atkin Published Their Statements With Actual Malice: They
  Published Them With Ill Will, to Promote a Preconceived Narrative that Rumble
  is “Toxic,” With Purposeful Avoidance of Obvious Sources of Readily Available
     Information, With a Financial Motive to Profit Off Their Defamation, and
                    Without Adhering to Journalistic Standards.

        69.   Since the December 2022 exchange, Defendants have continued their

 disinformation campaign against Rumble, including by repeating the statements at

 issue. The reason is obvious: Defendants have made clear that their goal is to destroy

 Rumble regardless of the facts. Defendants knowingly or recklessly disregarded the

 truth about Rumble because of their extreme ill will and contempt for Rumble.

 Defendants’ ill will is obvious on the face of their posts and other statements about

 the Company, which they routinely refer to as “toxic.” For example, Jammi has

 posted the following:




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        70.   Not only were Defendants motivated by ill will toward Rumble, but

 they also purposefully ignored facts in obvious, reliable sources of information about

 the Company. Defendants recklessly disregarded information in Rumble’s publicly

 available SEC filings that contradicted their preconceived narrative that Rumble is

 heavily dependent on Google Ads. On information and belief, Defendants read these

 filings, but they purposefully omitted from their statements material information that

 contradicted the story they set out to tell—that Rumble is a “house of cards” built on

 Google Ads and economically fragile to the interference Jammi and Atkin intended

 to achieve in Rumble’s relationship with Google.

        71.   Over time, Rumble’s SEC filings demonstrated an ever-decreasing

 amount of revenue from Google Ads which became so de minimus (and thus not a

 material financial risk) that it was excluded from Rumble’s SEC filings after Q3


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 2022. Prior to Defendants’ statements, the most recent public information about

 Rumble’s advertising revenue was its November 2022 Form 10-Q, which states that

 revenue generated from Google AdSense and another external advertising network

 was only about 19% of Rumble’s total revenue.12 The percentage attributable to

 Google AdSense alone was only 9%. On information and belief, Defendants were

 aware of the information in Rumble’s November 2022 Form 10-Q that contradicted

 their false statement because they have reviewed this and other of Rumble’s publicly

 available SEC filings, such as Rumble’s 2023 Q1 earnings report. On information

 and belief, Defendants were also aware of the decreasing trend of external

 advertising revenue supporting Rumble’s business prior to their false statements. On

 May 21, 2023, Jammi responded to a tweet from Dan Bongino noting that she

 “checked out Rumble’s Q1 2023 earnings report.”




 12 Form 10-Q, Rumble Inc. (Nov. 14, 2022), available at

 https://api.mziq.com/mzfilemanager/v2/d/2e1fc959-ad61-
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        72.   The same day, she also tweeted a screenshot from Rumble’s Q1 2023

 earnings report. And she falsely claimed that much of Rumble’s year-over-year

 increase in revenue was from “GOOGLE ADS, which [Rumble] so deliciously

 claim[s] to have ditched.”




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        73.   In addition to their animus toward Rumble, Defendants had a financial

 motive to defame the Company.          Check My Ads is a 501(c)(3) tax-exempt

 corporation that relies on soliciting donations to fund its operations. It is funded by

 grants, charitable foundations, and individual donors. Defendants’ salacious and

 widespread disinformation campaigns against companies like Rumble are critical for

 attracting the donors necessary to sustain Check My Ads’ existence.

        74.   Finally, Defendants failed to abide by basic journalistic standards in

 researching, writing, and publishing the October 24, 2023 article, which Defendants

 describe as a “news article.” Because this was a “news article,” Defendants should

 have adhered to standards of ethical and professional journalism, which require

 journalists to, among other things, “[d]iligently seek subjects of news coverage to

 allow them to respond to criticism or allegations of wrongdoing,” “[v]erify

 information before releasing it,” “[n]ever deliberately distort facts or context,” and

 “[a]cknowledge mistakes and correct them promptly and prominently.”13 Here,

 Defendants failed to contact Rumble for comment prior to publication of the October

 24, 2023 article, omitted material facts provided to them by Rumble that were readily

 and publicly available including in Rumble’s SEC filings, deliberately included

 information they knew to be false to bolster their preconceived take-down narrative,



 13
       Soc’y of Pro. Journalists,       SPJ     Code   of   Ethics   (Sept.   6,   2014),
 https://www.spj.org/ethicscode.asp.


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 and refused to correct or acknowledge that their statements were false.

        Jammi and Atkin Acted With Actual Malice Because They Refused
            Rumble’s Demand To Retract Their False Statements.

        75.   On October 26, 2023, Rumble’s legal counsel sent Jammi and Atkin a

 letter informing them that their statements are false and defamatory. Specifically,

 the letter explained that, as “Rumble reported in the Form 10-Q it filed publicly with

 the SEC in November 2022[,] … revenue generated from Google AdSense was only

 about 19% of Rumble’s total revenue,” and “[t]hat percentage has fallen even further

 as Rumble has begun rolling out the Rumble Advertising Center.”

        76.   As such, Rumble’s counsel demanded that Jammi and Atkin take down

 their September 26, 2023 tweets falsely claiming that Rumble is “largely monetized

 through Google Video Partners” and “90% funded by @GoogleAds.” Rumble’s

 counsel also demanded that Jammi and Atkin retract the false claims in the October

 24, 2023 article published on Check My Ads, including that “Rumble is heavily

 monetized by Google Ads,” and Rumble “appears to be heavily dependent on

 Google Ads, by far its largest advertising partner.”

        77.   Defendants know how to correct the public record when they want to.

 In August 2021, Rumble notified Jammi that she had posted inaccurate information

 on Twitter. She responded by sharing the correct information publicly:




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        78.   They have refused to do so here. Rather, Atkin used the opportunity to

 reemphasize the accuracy of her false statement. On November 21, 2023, Atkin

 doubled down, posting on X that “[t]o clarify, approximately 90% of Rumble’s

 programmatic display ad revenue comes from @GoogleAds.” This statement was a

 reply to Atkin’s original September 26 tweet. It came nearly a month after Atkin

 received Rumble’s unambiguous retraction demand letter, in which Rumble

 informed Atkin that Google Ads did not make up a significant portion of its ad

 revenue. Atkin’s attempt to qualify her original statement as referring only to

 “programmatic display” ad revenue was not a correction, but rather an admission

 that she had the facts wrong. Google Ads does not make up 90% of Rumble’s

 programmatic display ad revenue. Had Atkin engaged with Rumble, the Company

 would have told her this. Indeed, Defendants have had ample opportunity to engage


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 with Rumble and learn about the Rumble’s own advertising system that now

 provides the Company with advertising revenue. Instead, rather than meaningfully

 retracting or correcting her original statement and setting the record straight, Atkin

 chose to repeat her false claims, amplifying the harm to Rumble. And Defendants’

 refusal to retract their statements is additional evidence of their malicious intent

 toward Rumble.

  Defendants’ False Statements Have Harmed Rumble’s Business and Reputation.

        79.   Defendants’ concerted and coordinated smear campaign is having its

 desired effect. Defendants’ false assertions that Rumble is heavily dependent on and

 90% monetized by Google Ads, and that it has lied to and misled stakeholders about

 its sources of ad revenue and overall financial health have caused substantial harm

 to Rumble’s reputation and damaged its brand. Defendants’ false and defamatory

 campaign has created uncertainty with Rumble’s users and creators, as well as sowed

 confusion with advertisers on the Rumble Advertising Center.

        80.   Beyond this irreparable reputational harm, Rumble’s business has

 suffered economically.     As Defendants have boasted, major advertisers have

 dropped Rumble. And putative advertisers have avoided purchasing ads through the

 Rumble Advertising Center because they are less willing to buy ads when they

 perceive risk of Jammi, Atkin, and Media Matters publicly shaming and targeting

 them for their ads appearing on Rumble’s website.



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        81.    Rumble’s stock price also fell nearly 13% in the week following

 Defendants’ publication of their defamatory October 24, 2023 article about Rumble

 on CheckMyAds.org. On October 23, 2023, Rumble’s stock price closed at $5.15.

 One week later, Rumble’s stock price had fallen to $4.49. As a result of the stock

 price decrease, Rumble’s market capitalization fell by nearly $185 million (from

 $1.443 billion to $1.258 billion).

        82.    Rumble has also incurred special damages trying to mitigate, as best it

 can, the harm caused by Defendants’ defamation. These damages were a foreseeable

 and normal consequence of Defendants’ tortious conduct, and that conduct was a

 substantial factor in bringing about these expenses. For example, Rumble has spent

 more than $37,122.50 in legal fees to outside counsel in connection with its efforts

 to educate Defendants and request that Defendants retract their false and defamatory

 statements—a request that Defendants have refused. Further, Rumble spent another

 $10,000 on a public relations consultant to mitigate damages directly connected to

 Defendants’ false statements. That work is ongoing. These fees are separate from

 and in addition to the substantial sums Rumble has spent, and will have to spend, on

 this litigation.

                             COUNT I – DEFAMATION

                          (AGAINST ALL DEFENDANTS)

        83.    Plaintiff repeats and alleges paragraphs 1–82 as if set forth fully herein.



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        84.    Defendants made the following false and defamatory statements of fact

 about Rumble on X and CheckMyAds.org.

               a.     On August 16, 2023, Jammi wrote on X that “Rumble is all
                      posturing, all the time. They’re not a Google Ads killer or even
                      close to it – they depend on Google for their business. We’re
                      talking a house of cards.”14

               b.     On September 26, 2023, Jammi wrote on X that “@rumblevideo
                      is largely monetized through Google Video Partners (GVP), a
                      network of sites that Google forcibly opts YouTube advertisers
                      into.”15

               c.     On September 26, 2023, Atkin wrote on X that “Rumble, the
                      most toxic place on the internet, is 90% funded by @GoogleAds.
                      But the advertisers using Google didn’t know! Until now.”16

               d.     On October 3, 2023, Jammi wrote on X that “Without
                      @GoogleAds, Rumble would not be viable. … It’s criminal
                      behavior by Google, which has promised brand safety to its
                      clients.”17

               e.     On October 24, 2023, Defendants published on
                      CheckMyAds.org an article falsely claiming that: “Rumble is
                      heavily monetized by Google Ads. Rumble loves to boast about
                      being free from Big Tech. In reality, the business appears to be
                      heavily dependent on Google Ads, by far its largest advertising
                      partner — and advertisers often have no idea their ads are
                      appearing there. Rumble is part of Google Video Partners, which
                      means Google dumps inventory there that many advertisers


 14 Nandini Jammi (@nandoodles), X (Aug. 16, 2023, 12:32 PM),

 https://twitter.com/nandoodles/status/1691850380315951463.
 15 Nandini Jammi (@nandoodles), X (Sept. 26, 2023, 7:36 PM),

 https://twitter.com/nandoodles/status/1706814986461311430.
 16
    Claire Atkin (@catthekin), X (Sept. 26, 2023, 7:43 PM),
 https://twitter.com/catthekin/status/1706816841061179478.
 17 Nandini Jammi (@nandoodles), X (Oct. 3, 2023, 1:02 PM),

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                      assume is going to YouTube. And it seems to know brands
                      wouldn’t appreciate appearing next to some of Rumble’s
                      content: it has taken steps to minimize the risk of advertisers
                      waking up to screenshots of their ads next to Alex Jones’ face.
                      Its two-tier system for ads monetizes the worst videos through
                      Rumble Ads, its in-house ad platform, while featuring Google
                      Ads on mainstream channels, such as Reuters.”18

        85.    Defendants’ statements are reasonably understood to be statements of

 fact about Rumble, and those statements were understood by people who saw, heard,

 and read them to be statements of fact about Rumble. Defendants and Check My

 Ads purport to be digital advertising watchdogs, suggesting to readers that their

 publications and pronouncements are researched, reliable, and based on facts.

        86.    Defendants’ statements convey, and are reasonably understood to

 convey, that Rumble’s business is largely dependent on Big Tech (i.e., Google Ads),

 that its heavy reliance on Google Ads exposes Rumble to a material financial risk,

 and that Rumble has misled investors and other stakeholders by reporting false

 information about its financial health and sources of ad revenue in public securities

 filings.

        87.    Defendants’ statements are false. Rumble is not “largely” or “heavily”

 monetized by Google. Nor is it “90% funded” by Google Ads. It is not reliant on

 Google as a going concern. As set forth above in detail, the fact that Rumble receives




 18 Check My Ads, 8 Things To Know About Rumble, The Toxic Platform That Will Stream The

 GOP Debate (Oct. 24, 2023), https://checkmyads.org/updates/rumble-gop-debate-explainer/.

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 only a small fraction of its revenue from Google Ads is widely and publicly known.

 Rumble publicly reported in its SEC filings in November 2022, and Rumble told

 Jammi directly in late 2022, that Rumble received less than 20% of its ad revenue

 from Google and another external advertising network. In fact, in October 2023, it

 was less than 1%. Rumble’s business is not dependent on Google Ads. Rumble is

 not vulnerable to a material financial risk if it were to be dropped from Google Ads.

 And Rumble has never lied to or misled its investors.

        88.   Defendants’ statements are defamatory—and at least a substantial and

 respectable minority of the community understood them to be defamatory—because

 they expose Rumble to hatred, ridicule, or contempt; tend to injure Rumble in its

 business and reputation; and charge that Rumble committed a crime. Any statement

 that Rumble is largely dependent on Big Tech platforms like Google Ads harms

 Rumble’s business reputation and damages its brand, particularly with content

 creators and users who seek out neutral social media platforms. Likewise, any

 statement that Rumble made false statements in securities filings, or otherwise

 misled investors and other stakeholders, injures Rumble’s business and reputation,

 and falsely accuses Rumble of criminal conduct.

        89.   Defendants’ false statements that Rumble is susceptible to a material

 financial risk because of its heavy reliance on Google Ads are defamatory per se

 because they improperly call into question Rumble’s financial soundness which


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 tends to injure Rumble in its business.

        90.   Defendants’ false statements accusing Rumble of lying to investors are

 defamatory per se because they impute to Rumble an infamous crime––specifically,

 securities fraud—and they impute to Rumble conduct incompatible with the proper

 execution of lawful business.

        91.   As a direct and foreseeable result of Defendants’ false and defamatory

 statements, Rumble has suffered significant reputational and economic harm as

 detailed above. Defendants have bragged about causing this harm, noting that their

 disinformation campaign has spurred advertisers to drop Rumble. In addition,

 Rumble has been forced to expend more than $37,122.50 in legal fees and $10,000

 to hire a public relations firm to try to mitigate the harm caused by Defendants’

 libelous smear campaign. And Rumble’s market capitalization has decreased by

 nearly $185 million. The overall monetary value of the harm caused by Defendants’

 defamation exceeds $75,000.

        92.   Defendants had no applicable privilege or legal authorization to publish

 their defamatory statements or, if they did, abused that privilege.

        93.   Defendants published their defamatory statements with actual malice.

 Defendants knew their statements were false when they made them, or recklessly

 disregarded the truth or falsity of their statements. Specifically, Defendants acted

 with actual malice because: (1) Rumble informed Jammi directly more than a year


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 before Defendants published their false and defamatory statements that revenue from

 Google Ads, combined with revenue from a second external advertising network,

 was less than 20% of Rumble’s overall ad revenue; (2) Defendants ignored obvious

 sources of information—including Rumble’s publicly available securities filings—

 that contradicted the narrative they concocted to take down Rumble; (3) Defendants

 were motivated by hostility and ill will toward Rumble because Rumble allows

 content creators to express views on the platform contrary to Defendants’ partisan

 political agenda; (4) Defendants had a financial motive to publish defamatory

 falsehoods about Rumble; (5) Defendants refused to retract or correct their false and

 defamatory statements; and (6) Defendants failed to adhere to journalistic standards

 in researching, writing, and publishing their October 24, 2023 “news article.”

                   COUNT II – DEFAMATION BY IMPLICATION

                         (AGAINST ALL DEFENDANTS)

        94.   Plaintiff repeats and alleges paragraphs 1–82 as if set forth fully herein.

        95.   Defendants made a series of false statements of fact about Rumble on

 X and CheckMyAds.org that were reasonably capable of sustaining an incorrect and

 defamatory implication.      Specifically, Defendants juxtaposed the following

 statements of fact to imply a defamatory connection between them or otherwise

 create a defamatory implication:

              a.     On August 16, 2023, Jammi wrote on X that “Rumble is all
                     posturing, all the time. They’re not a Google Ads killer or even


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                      close to it – they depend on Google for their business. We’re
                      talking a house of cards.”19

               b.     On September 26, 2023, Jammi wrote on X that “@rumblevideo
                      is largely monetized through Google Video Partners (GVP), a
                      network of sites that Google forcibly opts YouTube advertisers
                      into.”20

               c.     On September 26, 2023, Atkin wrote on X that “Rumble, the
                      most toxic place on the internet, is 90% funded by @GoogleAds.
                      But the advertisers using Google didn’t know! Until now.”21

               d.     On October 3, 2023, Jammi wrote on X that “Without
                      @GoogleAds, Rumble would not be viable. … It’s criminal
                      behavior by Google, which has promised brand safety to its
                      clients.”22

               e.     On October 24, 2023, Defendants published on
                      CheckMyAds.org an article falsely claiming that: “Rumble is
                      heavily monetized by Google Ads. Rumble loves to boast about
                      being free from Big Tech. In reality, the business appears to be
                      heavily dependent on Google Ads, by far its largest advertising
                      partner — and advertisers often have no idea their ads are
                      appearing there. Rumble is part of Google Video Partners, which
                      means Google dumps inventory there that many advertisers
                      assume is going to YouTube. And it seems to know brands
                      wouldn’t appreciate appearing next to some of Rumble’s
                      content: it has taken steps to minimize the risk of advertisers
                      waking up to screenshots of their ads next to Alex Jones’ face.
                      Its two-tier system for ads monetizes the worst videos through
                      Rumble Ads, its in-house ad platform, while featuring Google


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    Claire Atkin (@catthekin), X (Sept. 26, 2023, 7:43 PM),
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 22 Nandini Jammi (@nandoodles), X (Oct. 3, 2023, 1:02 PM),

 https://twitter.com/nandoodles/status/1709252496466575691.
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                      Ads on mainstream channels, such as Reuters.”23

        96.    Defendants juxtaposed these series of statements to imply—and their

 statements were reasonably understood to imply—(1) that Rumble’s heavy reliance

 on Google Ads exposes Rumble to a material financial risk and (2) that Rumble has

 misled investors and other stakeholders by reporting false information about its

 financial health and sources of ad revenue in public securities filings.

        97.    Defendants’ statements and their implications are false. As set forth

 above in detail, more than a year ago, Google Ads and another external advertising

 network accounted for 19% of Rumble’s revenue, and Rumble received less than

 1% of its revenue from Google Ads in October 2023. The fact that Rumble receives

 a small percentage of its revenue from Google Ads has been publicly reported in

 Rumble’s SEC filings, and Rumble told Jammi directly in late 2022 that it receives

 less than 20% of its ad revenue from Google and a second external advertising

 network. As such, Rumble is not vulnerable to a material financial risk were Google

 Ads to drop it. And Rumble has never lied to or misled its investors.

        98.    Defendants’ statements and their implications are defamatory—and at

 least a substantial and respectable minority of the community understood them to be

 defamatory—because they expose Rumble to hatred, ridicule, or contempt; tend to




 23 Check My Ads, 8 Things To Know About Rumble, The Toxic Platform That Will Stream The

 GOP Debate (Oct. 24, 2023), https://checkmyads.org/updates/rumble-gop-debate-explainer/.

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 injure Rumble in its business and reputation; and charge that Rumble committed a

 crime.

          99.   Defendants’ false implications that Rumble is susceptible to a material

 financial risk because of its heavy reliance on Google Ads are defamatory per se

 because they improperly call into question Rumble’s financial soundness, which

 tends to injure Rumble in its business.

          100. Defendants’ false implications accusing Rumble of lying to investors

 are defamatory per se because they impute to Rumble an infamous crime–

 specifically, securities fraud—and they impute to Rumble conduct incompatible

 with the proper execution of lawful business.

          101. As a direct and foreseeable result of Defendants’ false and defamatory

 statements and their implications, Rumble has suffered significant reputational and

 economic harm as detailed above. Defendants have bragged about causing this

 harm, noting that their disinformation campaign has spurred advertisers to drop

 Rumble. In addition, Rumble has been forced to expend more than $37,122.50 in

 legal fees and $10,000 to hire a public relations firm to try to mitigate the harm

 caused by Defendants’ libelous smear campaign.               And Rumble’s market

 capitalization has decreased by nearly $185 million. The overall monetary value of

 the harm caused by Defendants’ defamation exceeds $75,000.

          102. Defendants had no applicable privilege or legal authorization to publish


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 their defamatory statements or implications or, if they did, abused that privilege.

        103. Defendants published their defamatory statements and implications

 with actual malice. Defendants knew their statements and implications were false

 when they made them, or recklessly disregarded the truth or falsity of their

 statements. Specifically, Defendants acted with actual malice because: (1) Rumble

 informed Jammi directly more than a year before Defendants published their false

 and defamatory statements that revenue from Google Ads and another external

 advertising network was less than 20% of Rumble’s overall ad revenue;

 (2) Defendants ignored obvious sources of information—including Rumble’s

 publicly available securities filings—that contradicted the narrative they concocted

 to take down Rumble; (3) Defendants were motivated by hostility and ill will toward

 Rumble because Rumble allows content creators to express views on the platform

 contrary to Defendants’ partisan political agenda; (4) Defendants had a financial

 motive to publish defamatory falsehoods about Rumble; (5) Defendants refused to

 retract or correct their false and defamatory statements; and (6) Defendants failed to

 adhere to journalistic standards in researching, writing, and publishing their October

 24, 2023 “news article.”

                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court enter judgment

 in Plaintiff’s favor, and against Defendants, as follows:



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              (1)   awarding Rumble actual and presumed damages to be
                    specifically determined at trial;

              (2)   awarding Rumble punitive damages;

              (3)   awarding Rumble all costs, disbursements, fees, and interest as
                    authorized by Florida Law and Rules;

              (4)   awarding Rumble a narrowly-tailored injunction prohibiting
                    Defendants from repeating any statement adjudicated to be false
                    and defamatory; and

              (5)   such other and additional remedies as the Court may deem just
                    and proper.

 A JURY TRIAL IS DEMANDED.




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 Dated: April 26, 2024            Respectfully Submitted,

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